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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 9:19-cv-81160-RS




   APPLE INC.,

                                Plaintiff,

          v.

   CORELLIUM, LLC,

                              Defendant.


              FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

         1.      Plaintiff Apple Inc. (“Apple”) brings this complaint against Corellium, LLC

  (“Corellium”) for copyright infringement in violation of 17 U.S.C. § 501 and unlawful

  trafficking of a product used to circumvent security measures in violation of 17 U.S.C. § 1201.

                                             INTRODUCTION

         2.      This is a straightforward case of infringement of highly valuable copyrighted

  works, along with the trafficking of and profiting from technology that enables such

  infringement. Corellium’s business is based entirely on commercializing the illegal replication

  of the copyrighted operating system and applications that run on Apple’s iPhone, iPad, and other

  Apple devices. The product Corellium offers is a “virtual” version of Apple mobile hardware

  products, accessible to anyone with a web browser. Specifically, Corellium serves up what it

  touts as a perfect digital facsimile of a broad range of Apple’s market-leading devices—

  recreating with fastidious attention to detail not just the way the operating system and
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  applications appear visually to bona fide purchasers, but also the underlying computer code.

  Corellium does so with no license or permission from Apple.

         3.      Corellium’s conduct plainly infringes Apple’s copyrights. This is not a case in

  which it is questionable or unclear whether the defendant reproduced the rights-owner’s works,

  or more subtly, whether particular portions of the works that the defendant took are ultimately

  protected by federal copyright law. Instead, Corellium simply copies everything: the code, the

  graphical user interface, the icons—all of it, in exacting detail. And that’s not all. Corellium

  goes even farther by providing its users with the tools to do the same.

         4.      Corellium explicitly markets its product as one that allows the creation of

  “virtual” Apple devices. For a million dollars a year, Corellium will even deliver a “private”

  installation of its product to any buyer. There is no basis for Corellium to be selling a product

  that allows the creation of avowedly perfect replicas of Apple’s devices to anyone willing to pay.

         5.      Although Corellium paints itself as providing a research tool for those trying to

  discover security vulnerabilities and other flaws in Apple’s software, Corellium’s true goal is

  profiting off its blatant infringement. Far from assisting in fixing vulnerabilities, Corellium

  encourages its users to sell any discovered information on the open market to the highest bidder.

  Indeed, Corellium’s largest customer admits that it has never reported any bugs to Apple.1

         6.      Apple strongly supports good-faith security research on its platforms, and has

  never pursued legal action against a security researcher. Not only does Apple publicly credit

  researchers for reporting vulnerabilities, it has created several programs to facilitate such

  research activity so that potential security flaws can be identified and corrected. Apple’s



  1
   Lorenzo Franceschi-Bicchierai, iPhone Emulation Company Sued by Apple Says It’s
  Making iPhones Safer, Motherboard Vice (Oct. 29, 2019), https://www.vice.com/en_us/
  article/8xw7gx/iphone-emulation-company-sued-by-apple-says-its-making-iphones-safer.


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  programs include providing as much as $1 million per report through “bug bounty” programs in

  accordance with the provisions of those programs. Apple has also announced that it will provide

  custom versions of the iPhone to legitimate security researchers to allow them to conduct

  research on Apple devices and software. These efforts recognize the critical role that members

  of the security research community play in Apple’s efforts to ensure its devices contain the most

  secure software and systems available.

          7.      The purpose of this lawsuit is not to encumber good-faith security research, but to

  bring an end to Corellium’s unlawful commercialization of Apple’s valuable copyrighted works.

  Accordingly, Apple respectfully seeks an injunction, along with the other remedies described

  below, to stop Corellium’s acts of naked copyright infringement.

                                             THE PARTIES

          8.      Apple Inc. is a California corporation with its principal place of business at One

  Apple Park Way, Cupertino, California 95014.

          9.      On information and belief, Corellium, LLC is a limited liability company

  registered in Delaware with its principal place of business at 630 George Bush Blvd., Delray

  Beach, Florida 33483.

                                    JURISDICTION AND VENUE

          10.     Pursuant to 28 U.S.C. § 1338(a), this Court has subject matter jurisdiction over

  Apple’s claims for relief for violations of the federal copyright statute.

          11.     This Court has personal jurisdiction over Corellium because it resides, maintains

  offices, and conducts business in this State.

          12.     Venue in this Court is proper under 28 U.S.C. § 1400(a). Corellium resides in

  this District because its principal place of business is located in this District.




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                      FACTS COMMON TO ALL CLAIMS FOR RELIEF

       Apple’s Copyrighted Works

         13.     Apple is a leading designer and manufacturer of mobile communication devices,

  personal computers, and media devices. Apple sells a variety of related software, services,

  accessories, and third-party digital content and applications. Apple’s products and services

  include iPhone®, Mac®, iPad®, Apple Watch®, AirPods®, AppleTV®, Beats® products,

  HomePod™, a portfolio of consumer and professional software applications, iOS, iPadOS™,

  macOS®, watchOS® and tvOS® operating systems, iCloud®, Apple Pay® and a variety of

  accessory, service, and support offerings. Apple sells and delivers digital content through the

  iTunes Store®, App Store®, Mac App Store, TV App Store, Book Store and Apple Music®.

  Apple has created numerous innovative technologies that have changed the face of the computer

  and telecommunications industries.

         14.     One such technology is the iOS operating system. iOS comes pre-installed on

  Apple mobile devices, including the iPhone, iPad, and iPod Touch. As the operating system for

  these mobile devices, iOS is the technological foundation for software “application” programs

  (or “apps”) that serve particular functions for end-users—from shopping to playing music and

  beyond. Both Apple and third-party programmers write and develop apps that run on iOS.

         15.     Apple has periodically created and released new versions of iOS to enhance the

  functionality and security of the operating system and the devices it runs. Apple released its

  prior major version of iOS, iOS 12, on September 17, 2018, to coincide with its release of the

  latest versions of the iPhone—iPhone XS and iPhone XS Max (both of which Apple released on

  September 21, 2018), and iPhone XR (which Apple released on October 26, 2018). Apple

  released iOS 13 on September 19, 2019.




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         16.     In addition to an operating system and certain applications, Apple’s mobile

  devices include a number of graphic design elements that Apple has created. These include

  background wallpaper images, icons, and other features that make iOS and iTunes visually

  attractive to consumers. These visual design elements (referred to here as “graphical user

  interface elements,” or, more formally, “GUI Elements”) are critical to the appeal of Apple’s

  products, and Apple continually updates them to account for design trends and changing tastes.

         17.     Apple owns copyrights in (i) each version of iOS, (ii) each version of iTunes, and

  (iii) the GUI Elements, including different versions of graphic icons and preinstalled background

  wallpaper images. A list of copyright registrations for the works-in-suit is provided in Exhibit A.

  Apple registered all or virtually all of these copyrights with the U.S. Copyright Office either

  prior to Corellium’s acts of infringement, or within three months of publication.

         18.     Apple has put in place a series of technological protection measures that control

  access to and protect Apple’s exclusive rights in its software. These include several measures

  that prevent iOS and iTunes from being installed onto non-Apple-manufactured hardware. In

  addition, after iOS is installed on an Apple device, iOS includes software restrictions that prevent

  unfettered access to the operating system. Among other things, these restrictions prevent a user

  from modifying the operating system.

         19.     These various technological protection measures both control access to iOS and

  iTunes (for example, by requiring that users access the installed version of that software only on

  an Apple-manufactured device) and protect Apple’s exclusive rights (for example, by preventing

  the creation of unauthorized derivative versions of iOS).

         20.     Four other points regarding Apple’s products are relevant to this action. First, in

  the course of creating and upgrading its market-leading mobile devices, Apple has spent




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  significant resources developing elaborate security measures within iOS in order to protect its

  customers’ data, including embedding security features in the hardware, firmware, and software

  layers of iOS and the mobile products on which iOS is installed. To this day, Apple continues to

  invest significant resources in researching and improving the security measures in its products.

          21.    Second, Apple sells a service called the Apple Developer Program for $99 per

  year. The Apple Developer Program provides third-party developers with access to a range of

  Apple-created software development tools that allow the creation and testing of iOS apps. An

  example is TestFlight®, a development tool which allows app developers to publish “beta”

  versions of their apps to testers, who can then download and test the app for a limited period of

  time.

          22.    Third, Apple also distributes a software product called Xcode® that allows app

  developers to create and test iOS apps. Among the features of Xcode is one called “Simulator,”

  which gives an app developer the ability to test the app on a “virtual” iOS device. In addition,

  Xcode makes it possible to test apps on actual physical Apple devices. Although Xcode is

  provided without charge, use of the software requires agreement to specific and detailed terms

  and conditions of use, including agreement not to use Xcode to “decompile, reverse engineer,

  disassemble, attempt to derive the source code of, modify, decrypt, or create derivative works of”

  Apple-created software.

          23.    Fourth, earlier this year Apple announced the “iOS Security Research Device

  Program,” under which Apple will provide custom versions of the iPhone to legitimate security

  researchers, to allow them to find and report bugs to Apple.

          24.    Through Apple’s massive investments and unparalleled innovation, iOS has

  become one of the most widely used and distributed mobile operating system in the world.




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  Apple’s mobile products continue to lead the field, with billions of units sold.

         Corellium’s Infringing Product

           25.    Corellium is “a startup that sells a product that allows users to create virtual

  instances of almost any iOS device in the world.”2 Corellium’s product creates exact digital

  replicas of Apple’s iOS, iTunes, and GUI Elements (referred to here as the “Corellium Apple

  Product”), available via either Corellium’s web-based platform or a privately installed,

  Corellium-provided platform.3 Corellium admits that its product will compete with Apple’s iOS

  Security Research Device Program.4

           26.    The sole function of the Corellium Apple Product is to enable the creation of

  “virtual” iOS-operated devices, running unauthorized copies of iOS, on non-Apple hardware.

  Images and video of the Corellium Apple Product available online unambiguously demonstrate

  Corellium’s blatant copying of Apple’s copyrighted works and establish unequivocally that the

  Corellium Apple Product enables its users to circumvent the security protections that Apple has

  implemented to protect its copyrighted works and its exclusive rights in those works. For

  example, the following images show, on the left, an image of an iPhone X taken from Apple’s

  website, and on the right, a “virtual” iPhone X as created within the Corellium Apple Product.




  2
   Lorenzo Franceschi-Bicchierai, The Prototype iPhones That Hackers Use to Research
  Apple’s Most Sensitive Code, Motherboard Vice (Mar. 6, 2019), https://www.vice.com/
  en_us/article/gyakgw/the-prototype-dev-fused-iphones-that-hackers-use-to-research-
  apple-zero-days.
  3
   References to the “Corellium Apple Product” refer only to products that create virtual
  versions of iOS-operated devices. This case does not raise claims regarding Corellium-
  created products that are based on other mobile operating systems.
  4
      Am. Answer at 8-9.


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         28.     In August 2019, Corellium specifically emphasized, at the international

  cybersecurity Black Hat USA Conference, that the Corellium Apple Product is an exact copy of

  Apple’s copyrighted works, designed specifically to allow researchers and hackers to research

  and test their vulnerabilities, by “run[ing] real iOS – with real bugs that have real exploits.” In

  other words, the Corellium Apple Product is designed to find and exploit flaws in iOS. And

  Corellium’s Apple Product does so by, among other things, enabling its users to circumvent the

  technological protection measures that are designed to limit where and how Apple’s copyrighted

  works can be used.




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         29.    Corellium acts quickly to copy new versions of Apple’s copyrighted works

  immediately after they are released. On September 27, 2018, within days of the announcement

  of Apple’s newest iPhone models (iPhone XR, iPhone XS, and iPhone XS Max), Corellium

  posted on its official Twitter account that the Corellium Apple Product supported those new

  devices with the newest version of the iOS operating system.




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         30.     Other images available online show the ease with which Corellium’s customers

  can create new “virtual” iOS devices using the Corellium Apple Product. The following series

  of images show the steps a user would take in the Corellium Apple Product to create a new

  virtual iPhone X, with a fully functioning copy of iOS 12:

         A.    The Corellium Apple Product allows a user to pick a specific type of device to

  create a virtual version of. The image below provides the option to copy an iPhone 7 Plus,

  iPhone 8, iPhone 8 Plus, or iPhone X.




         B.    Next, the user selects a version of iOS to install on the virtual device.




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         32.     On information and belief, the “virtual” iOS devices created by Corellium include

  fully functioning versions of iOS and iTunes.

         33.     The Apple Corellium Product also provides users with the ability to “jailbreak”

  virtual iOS devices. Jailbreaking refers to the act of modifying iOS to circumvent the software

  restrictions that prevent unfettered access to the operating system. Corellium openly markets the

  ability of its technology to “jailbreak . . . any version” of iOS. Corellium provides its

  jailbreaking technology to all its customers, regardless of their purpose.

         34.     In its Answer, Corellium attempts to paint itself as nobly purposed, enabling

  companies to identify iOS bugs for the beneficial purpose of improving the product and

  protecting users. In fact, far from being a product whose uses are limited to some salutary

  purpose, Corellium’s knock-offs, according to a February 2018 Forbes article, allow customers

  to try “whatever they want,” without regard to whether such activities are benign or malicious,

  on a virtual version of Apple’s devices.5 That article was evidently based on interviews with

  Corellium’s founders, Amanda Gorton, Chris Wade, and David Wang, as well as demonstrations

  of the Corellium Apple Product.

         35.     According to the Forbes article, Ms. Gorton demonstrated that a “virtual” iPhone

  6—that is, a full reproduction of Apple’s iOS, iTunes, and GUI Elements—could be created “in

  a matter of minutes” using the Corellium Apple Product. The Forbes article also noted that the

  product can make virtual copies of “almost all iOS devices currently on the market.”

         36.     Corellium’s own public statements bely their assertions that their infringing

  products are sold solely or even primarily for salutary purposes. In July 2018, Mr. Wade posted



  5
   Thomas Brewster, This Super Stealth Startup Built An Apple Hacker’s Paradise, Forbes
  (Feb. 15, 2018), https://www.forbes.com/sites/thomasbrewster/2018/02/15/corellium-
  virtual-apple-iphones-for-hacking/#343d11b94a3b.


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  on his Twitter account that the Corellium Apple Product would be available for use at two

  training courses held at the Black Hat USA Conference in August 2018: one titled “Offensive

  Mobile Exploitation & Reversing,” and the other, “The Mobile Application Hacker’s Handbook:

  Live Edition.” Mr. Wade’s tweet was retweeted by Corellium’s official Twitter account.




         37.     In September 2018, Mr. Wade appeared on a podcast called “Risky Business” that

  described the Corellium Apple Product as being marketed to the developers of software

  “exploits”—that is, developers of code intended to exploit flaws in a third-party digital product.

  During the podcast, Mr. Wade observed that, if anyone is able to develop a particular type of

  exploit of iOS 12, “they might want to keep it to themselves, because it will be worth a lot of

  money to a lot of people.”

         38.     On information and belief, the very next month, at the Tencent Security

  Conference, Mr. Wade stated that, for $1 million per year, entities will be able to license private

  installations of the Corellium Apple Product. This entails installing a full version of the

  Corellium Apple Product on a customer’s premises, rather than simply giving the customer

  access to Corellium’s own cloud-based product. Such private installations of the Corellium

  Apple Product copy, modify, and display Apple’s copyrighted works and allow users to do the

  same. The Corellium Apple Product also gives users the ability to circumvent the security




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  measures that are designed to prevent access to and use of Apple’s copyrighted works via non-

  Apple hardware (such as Corellium’s on-premises hardware).

         39.     On January 22, 2019, Corellium took its public communications about its

  flagrantly illegal activities even further, announcing on its official Twitter account that it was

  offering “on-site solutions” as an alternative to purchasing “jailbroken iPhones on eBay.” This

  represents an open acknowledgement of exactly what Corellium’s Apple Product is—a product

  that was designed, produced, and is now being marketed for the primary (and, in fact, exclusive)

  purpose of circumventing a technological measure that effectively controls access to Apple’s

  copyrighted works.




         40.     On April 1, 2019, Corellium again highlighted the unlawful ends to which its

  product is aimed by publicly acknowledging that it had given access to its platform to the

  developers of code used to jailbreak iOS devices called “unc0ver,” so the developers could test

  the jailbreaking code “on any device running any firmware” and distribute that code to the

  public. Within weeks, those developers released a new version of unc0ver that allowed

  jailbreaking of iOS 12.6 In other words, Corellium has admitted not only that its product is

  designed to circumvent technological protection measures Apple puts in place to prevent access


  6
   Github, v3.0.0 Release, posted by pwn20wndstuff, https://github.com/pwn20wndstuff/
  Undecimus/releases (April 19, 2019).


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  to and infringement of its copyrighted works in iOS, but that it has aided and abetted the creation

  and trafficking of other software that is also designed to circumvent those same technological

  measures.




           41.   Corellium contends in its Answer that “Corellium and its founders do business

  with those working in software security to protect end users.”7 On information and belief,

  Corellium actually makes no effort whatsoever to confine use of its product to good-faith

  research and testing of iOS. Nor does Corellium require its users to disclose any software bugs

  they find to Apple, so that Apple may correct them.

           42.   For example, the Forbes article, and a separate article in Motherboard from the

  same month, both described a company called Azimuth Security as Corellium’s “first customer,”

  a fact Corellium acknowledges. The Motherboard article reported that Azimuth sells a range of

  tools that exploit flaws in software. Azimuth’s customers reportedly include foreign

  governments, including foreign intelligence agencies.8 And when a reporter recently asked



  7
      Am. Answer at 10.
  8
   Joseph Cox and Lorenzo Franceschi-Bicchierai, How A Tiny Startup Became The Most
  Important Hacking Shop You’ve Never Heard Of, Motherboard Vice (Feb. 7, 2018),



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  Azimuth’s founder Mark Dowd, whether Azimuth had ever reported a bug found using

  Corellium to Apple, he answered, “no.”9 Contrary to its lofty rhetoric, Corellium in fact sells

  Apple’s technology and the ability to circumvent the security measures embedded in that

  technology for its own profit, and makes no effort to ensure its customers are engaged solely in

  good-faith security research. Instead, Corellium is selling a product for profit, using

  unauthorized copies of Apple’s proprietary software, that it avowedly intends to be used for any

  purpose, without limitation, including for the sale of software exploits on the open market.10

         43.     Corellium’s founders publicly recognize the significant commercial opportunity

  embodied by the Corellium Apple Product. For instance, in August 2019, after Apple announced

  that it will offer custom devices lacking certain security measures to invited and trusted security

  researchers,11 Mr. Wade noted the “serious cloud services revenue” Apple could capture, but

  then said “[it] chooses instead to build custom devices for a select few.” This is an open

  acknowledgment that a cloud-based product like Corellium’s will compete directly with the

  custom devices that Apple plans to distribute to security researchers.




  https://motherboard.vice.com/en_us/article/8xdayg/iphone-zero-days-inside-azimuth-
  security.
  9
   Lorenzo Franceschi-Bicchierai, iPhone Emulation Company Sued by Apple Says It's
  Making iPhones Safer, Motherboard Vice (Oct. 29, 2019), https://www.vice.com/en_us/
  article/8xw7gx/iphone-emulation-company-sued-by-apple-says-its-making-iphones-safer.
  10
    In one tweet, Mr. Wade responded to an announcement by a company offering a $2
  million dollar bounty for “remote iOS jailbreaks” by suggesting that users try the
  Corellium Apple Product to find such bugs. @cmwdotme, Twitter (Jan. 7, 2018,
  7:10 AM), https://twitter.com/cmwdotme/status/1082293278840508416.
  11
   Andy Greenberg, Apple Gives Hackers A Special iPhone—and A Bigger Bug Bounty,
  Wired (Aug. 8, 2019), https://www.wired.com/story/apple-hacker-iphone-bug-bounty-
  macos/.


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           44.    Enough is enough. Apple did not and has not licensed or otherwise authorized

  Corellium to use Apple’s copyrighted works in the creation of, or as part of, the Corellium Apple

  Product, and in no way authorized Corellium’s design, production, and marketing of a tool that

  allows users to circumvent technological measures that protect access to and use of Apple’s

  copyrighted works.

        Corellium’s Acts of Copyright Infringement

           45.    Through its Corellium Apple Product, Corellium has engaged in and is engaging

  in the following acts of copyright infringement in violation of the Copyright Act, 17 U.S.C.

  § 501:

        A.       Corellium has created and is creating and distributing reproductions of, and is

 creating derivative works based upon, Apple’s iOS, iTunes, and GUI Elements, each of which are

 separate, independent protected works under the Copyright Act. In fact, Corellium has admitted

 the Corellium Apple Product makes modifications to iOS that allows it to be installed on, and run

 from, Corellium-developed or Corellium-operated hardware.

        B.       Corellium has publicly displayed and is publicly displaying Apple’s GUI Elements,

  and admits as much.

        C.       Corellium has and is continuing to induce, cause, and/or materially contribute to

  Corellium users’ own acts of direct copyright infringement of Apple’s copyrights in iOS, iTunes,


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  and the GUI Elements. Corellium contributorily infringed and continues to contributorily

  infringe Apple’s copyrights by providing its users with access to the Corellium Apple Product,

  including by selling private installations of the Corellium Apple Product that allow users to

  create virtual Apple devices on hardware that they control. Corellium also induced and

  continues to induce acts of direct copyright infringement by promoting and encouraging the use

  of the Corellium Apple Product to infringe Apple’s copyrights.

         46.     Corellium has no plausible defense to these acts of copyright infringement. On

  information and belief, Corellium is indiscriminately marketing the Corellium Apple Product to

  any customer, including foreign governments and commercial enterprises. Corellium is not

  selectively limiting its customers to only those with some socially beneficial purpose and/or

  those who promise to use Apple’s copyrighted works, through the Corellium Apple Product,

  only in lawful ways (though it is highly doubtful whether, under the circumstances, such uses

  actually exist). Instead, Corellium is simply unleashing Apple’s copyrighted works for the

  world-at-large to use, period.

         47.     Corellium’s purpose is plainly commercial. The Apple works whose copyrights

  Corellium is infringing are exceptionally creative. Corellium is using them wholesale, in full.

  And in so doing, it is harming the market for Apple’s copyrighted works in a variety of respects,

  including, without limitation, by making certain such works freely available in a manner in

  which they are otherwise accessible to developers only through the Apple Developer Program or

  by entering into agreements with Apple.

       Corellium’s Unlawful Trafficking of a Product Used To Circumvent Security
       Measures

         48.     The Copyright Act prohibits trafficking in products that are used to modify iOS

  and circumvent technological controls that protect copyrighted works. These “anti-trafficking”



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  provisions, 17 U.S.C. § 1201(a)(2) and (b), make it unlawful for any person to “manufacture,

  import, offer to the public, provide, or otherwise traffic in any technology, product, service,

  device, component, or part thereof” that is primarily designed, produced, or marketed for the

  purpose of circumventing technological measures that either effectively control access to a

  copyrighted work (section 1201(a)(2)), or that protect the exclusive rights of a copyright owner

  (section 1201(b)). The Copyright Act also provides a private right of action for violations of the

  anti-trafficking provisions. 17 U.S.C. § 1203(a).

         49.      Apple has incorporated security and other technological measures that, in their

  ordinary course of operation, require the application of information, or a process or treatment, to

  gain access to iOS, iTunes, and the GUI Elements. Apple has also incorporated technological

  measures that, in their ordinary course of operation, prevent, restrict, or otherwise limit the

  exercise of Apple’s exclusive rights in iOS, iTunes, and the GUI Elements, including but not

  limited to the right to copy and create derivative works from those works. These technological

  measures, among other things, include encryption, hardware checks, and server checks that

  prevent iOS from being installed and executed on non-Apple-authorized hardware, and prevent

  unfettered access to the iOS operating system.

         50.      Through its Corellium Apple Product, Corellium has engaged in and is engaging

  in the following acts in violation of the anti-trafficking provisions of Title 17:

         A.    Corellium, by offering the Corellium Apple Product for sale or license without

  authorization from Apple, is trafficking in technologies, products, or services that are primarily

  designed to avoid, bypass, remove, deactivate, or otherwise impair technological measures that

  effectively control access to the Apple’s copyrighted works, in violation of 17 U.S.C.

  § 1201(a)(2).




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         B.      Corellium, by offering the Corellium Apple Product for sale or license without

  authorization from Apple, is trafficking in technologies, products, or services that are primarily

  designed to avoid, bypass, remove, deactivate, or otherwise impair technological measures that

  effectively protect one or more of Apple’s exclusive rights in its copyrighted works, in violation

  of 17 U.S.C. § 1201(b).

         C.      Corellium has, in fact, admitted that it has engaged in and is engaging in trafficking

  in violation of both section 1201(a)(2) and (b), by admitting the following facts:

                 1.     The Corellium Apple Product makes modifications to iOS that allows it to

       be installed on, and run from, Corellium-developed or Corellium-operated hardware. Such

       modifications include disabling loadable firmware validation, disabling self-verification of

       the FIPS module, adding Corellium software to the “trust cache,” and instructing the

       restore tool not to contact Apple servers for kernel / device tree / firmware signing.

                 2.     The Corellium Apple Product allows users to “jailbreak” or otherwise

       bypass one or more feature of iOS and iOS devices that are designed to prevent access to

       the software or other material that could be stored on the iOS device.

                 3.     Corellium gave one or more Persons access to the Corellium Apple Product

       for the purpose of allowing such Person or Persons to develop software that can be used to

       “jailbreak” or otherwise bypass one or more feature of iOS and iOS devices that are

       designed to prevent access to the software or other material that could be stored on the iOS

       device.

                                     FIRST CLAIM FOR RELIEF

         Direct Federal Copyright Infringement (Computer Programs), 17 U.S.C. § 501

         51.      Apple realleges and incorporates by reference each of the allegations in preceding

  paragraphs 1-50 set forth above.


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         52.     Apple owns, and at all times has owned, valid and enforceable copyrights in all of

  its computer programs, including each individual version of iOS and iTunes, all of which are

  creative works of original authorship.

         53.     Apple holds valid certificates of copyright registration from the U.S. Copyright

  Office for those computer programs that Corellium has infringed and continues to infringe for

  which Apple seeks relief in this action at present; the copyright registrations are identified, dated,

  and numbered in Exhibit A.

         54.     Corellium does not have authorization, license, or permission from Apple to

  reproduce, distribute, or create derivative works from any of Apple’s computer programs,

  whether as part of the Corellium Apple Product or any other similar use.

         55.     Corellium is not authorized by law to engage in the acts alleged above.

         56.     Through the acts alleged above, Corellium has violated, and is continuing to

  violate, Apple’s exclusive rights in its computer programs to reproduce, distribute, and make

  derivative works from iOS and iTunes, in violation of 17 U.S.C. §§ 106 and 501.

         57.     On information and belief, when developing, adopting, and marketing its services

  and the Corellium Apple Product, Corellium was and remains aware that each version of iOS and

  each version of iTunes are protected by copyright, or acted and is acting in reckless disregard of

  the possibility that it was infringing and continues to infringe those copyrights. It is clear from

  Corellium’s marketing materials that Corellium purposefully copied and continues to copy

  Apple’s copyrighted versions of iOS and iTunes into the Corellium Apple Product. Thus,

  Corellium’s violations of Apple’s exclusive rights in its computer programs were and continue to

  be knowing, intentional, and willful.




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                                  SECOND CLAIM FOR RELIEF

                             Direct Federal Copyright Infringement
                       (Graphical User Interface Elements), 17 U.S.C. § 501

         58.     Apple realleges and incorporates by reference all of the factual allegations set

  forth in preceding paragraphs 1-50 set forth above.

         59.     Apple owns, and at all times has owned, valid and enforceable copyrights in the

  works of visual art embodied in the GUI Elements, including the graphic icons, preinstalled

  background wallpaper images, and all other aspects of the graphical user interface of iOS and

  iTunes, all of which are creative works of original authorship.

         60.     Apple holds valid certificates of copyright registration from the U.S. Copyright

  Office for those background wallpaper images, icons, and other graphic elements that Corellium

  has infringed and continues to infringe for which Apple seeks relief in this action at present. The

  copyright registrations are identified, dated, and numbered in Exhibit A.

         61.     Corellium does not have authorization, license, or permission from Apple to

  reproduce, distribute, or publicly display the GUI Elements.

         62.     Corellium is not authorized by law to engage in the acts alleged above.

         63.     Through the acts alleged above, Corellium has violated, and is continuing to

  violate, Apple’s exclusive rights in its works of visual art to reproduce, distribute, and publicly

  display the GUI Elements in violation of 17 U.S.C. §§ 106 and 501.

         64.     On information and belief, when developing, adopting, and marketing its services

  and the Corellium Apple Product, Corellium was and remains aware that the GUI Elements are

  protected by copyright, or acted and is acting in reckless disregard of the possibility that it is

  infringing those copyrights. It is clear from Corellium’s marketing materials that Corellium

  purposefully copied and continues to copy Apple’s works of visual art in the Corellium Apple



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  Product. Thus, Corellium’s violations of Apple’s exclusive rights in the GUI Elements were and

  continue to be knowing, intentional, and willful.

                                   THIRD CLAIM FOR RELIEF

                 Contributory Federal Copyright Infringement, 17 U.S.C. § 501

         65.     Apple realleges and incorporates by reference all of the factual allegations set

  forth in preceding paragraphs 1-50 set forth above.

         66.     Apple owns, and at all times has owned, valid and enforceable copyrights in all of

  its computer programs, including each individual version of iOS and iTunes, and the works of

  visual art embodied in the GUI Elements, including the graphic icons, preinstalled background

  wallpaper images, and all other aspects of the graphical user interface of iOS and iTunes. Apple

  holds valid certificates of copyright registration from the U.S. Copyright Office for all of the

  works at issue. The copyright registrations are identified, dated, and numbered in Exhibit A.

         67.     Users of the Corellium Apple Product (including those who purchase and use

  private installations of the Corellium Apple Product) do not have authorization, license, or

  permission from Apple to reproduce, distribute, create derivative works from, or publicly display

  any of Apple’s computer programs or works of visual art.

         68.     Through the acts alleged above, users of the Corellium Apple Product have

  engaged in and are engaging in acts of direct copyright infringement by reproducing,

  distributing, making derivative works from, and publicly displaying Apple’s computer programs

  and works of visual art.

         69.     On information and belief, when developing, adopting, and marketing the

  Corellium Apple Product, Corellium was and remains aware, or willfully blind, that use of that

  product would result in the infringement of Apple’s copyrights.




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         70.     Through the acts alleged above, Corellium knowingly induced, caused, and/or

  materially contributed to, and continues to induce, cause, and/or materially contribute to, the acts

  of direct infringement by its users, including by distributing and providing access to the

  Corellium Apple Product with the object of promoting its use to infringe Apple’s copyrights.

  Accordingly, Corellium is liable for contributory copyright infringement.

                                 FOURTH CLAIM FOR RELIEF

                     Unlawful Trafficking, 17 U.S.C. §§ 1201(a)(2), (b), 1203

         71.     Apple realleges and incorporates by reference all of the factual allegations set

  forth in preceding paragraphs 1-50 set forth above.

         72.     Apple owns, and at all times has owned, valid and enforceable copyrights in all of

  its computer programs, including each individual version of iOS and iTunes, and the works of

  visual art embodied in the GUI Elements, including the graphic icons, preinstalled background

  wallpaper images, and all other aspects of the graphical user interface of iOS and iTunes.

         73.     Apple has implemented technological protection measures that (a) effectively

  control access to those works, each of which is protected by Title 17, United States Code, and

  (b) effectively limit the exercise of one or more of Apple’s exclusive rights under Title 17,

  United States Code.

         74.     Through the acts alleged above, Corellium has violated, and is continuing to

  violate, the prohibition on manufacturing, importing, offering to the public, providing, or

  otherwise trafficking in a technology, product, service, device, component, or part thereof, that is

  primarily designed or produced for the purpose of circumventing one or more of these Apple-

  implemented technological measures.

         75.     Through the acts alleged above, Corellium has violated, and is continuing to

  violate, the prohibition on manufacturing, importing, offering to the public, providing, or


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  otherwise trafficking in a technology, product, service, device, component, or part thereof, that

  has only limited commercially significant purpose or use other than to circumvent one or more of

  these Apple-implemented technological measures.

         76.        Through the acts alleged above, Corellium has violated, and is continuing to

  violate, the prohibition on manufacturing, importing, offering to the public, providing, or

  otherwise trafficking in a technology, product, service, device, component, or part thereof, that is

  marketed by Corellium, or another acting in concert with Corellium with Corellium’s

  knowledge, for use in circumventing one or more of these Apple-implemented technological

  measures.

         77.        Corellium did not have, and does not have, authorization from Apple, and has no

  authorization under any law, to engage in any of those acts of trafficking, each of which has

  injured Apple by, among other things, facilitating the copyright infringement of Apple’s

  software.

                                                 PRAYER

         WHEREFORE, Apple prays for the following relief:

         A.        A permanent injunction ordering Corellium, and its officers, directors, members,

  agents, servants, employees, and attorneys, and all other persons acting in concert or

  participating with it, who receive actual notice of the injunction order by personal or other

  service, to do the following:

              1.    Cease all acts of direct and contributory copyright infringement related to iOS,

       iTunes, or any GUI Element;

              2.    Cease all trafficking of the Corellium Apple Product, including but not limited to

       any marketing, sale, or other distribution of the Corellium Apple Product;

              3.    Cease all uses of the Corellium Apple Product;


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               4.    Terminate all third-party access to the Corellium Apple Product;

               5.    Issue a notification to all past and present customers of the Corellium Apple

        Product, stating that use of the Corellium Apple Product infringes Apple’s copyrights.

          B.        A permanent injunction that includes all terms necessary to prevent and restrain

  infringement of Apple’s copyrighted works and trafficking in products that circumvent

  technological protection measures on those works. 17 U.S.C. §§ 502(a), 1203(b)(1).

          C.        An order directing Corellium to return Apple’s intellectual property, including,

  without limitation, all copyrighted software and works of visual art that Corellium took from

  Apple, as set forth in this Complaint.

          D.        An order impounding or destroying all infringing materials pursuant to 17 U.S.C.

  § 503, and all circumvention devices or products in the custody or control of Corellium pursuant

  to 17 U.S.C. § 1203(b)(2), (6).

          E.        An order awarding Apple actual damages and lost profits pursuant to 17 U.S.C.

  §§ 504(b), 1203(b)(3), (c), or in the alternative, statutory damages pursuant to 17 U.S.C.

  §§ 504(c), 1203(c).

          F.        An order awarding full costs and attorney’s fees.

          G.        An order awarding Apple such other relief as the Court deems appropriate.

                                              JURY DEMAND

          Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby demands a

  trial by jury.




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   Dated: December 20, 2019                         Respectfully Submitted,


                                                    s/ Martin B. Goldberg

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